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                                               August 2, 2022

By ECF
Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
40 Centre Street                                            08/04/22
New York, NY 10007
                                                 The parties shall file a proposed Protective Order
Re:   United States v. Sayfullo Saipov           to govern the jury records on or before August 18,
      (S1) 17 Cr. 722 (VSB)                      2022.

Dear Judge Broderick:

       Through this letter motion, and without objection from the government, we
respectfully renew our request for Mr. Saipov’s petit jury records pursuant to 28
U.S.C. § 1867(f). We previously sought records in November 2019 (ECF No. 218).
And while the Jury Administrator has provided records relating to the grand jury
who issued the superseding indictment in this case, we have not yet received
authorization for our previously filed petit jury demand. Through this letter, we
supersede that earlier request with an updated demand. As Mr. Martin suggests, he
has received additional information relating to petit jury data in other cases, and a
fuller set of records is necessary in this case too. See Martin Declaration, Exhibit A.
Therefore, without objection from the government, we seek the Court’s
authorization to obtain directly from the Jury Administrator for the Southern
District of New York all of the information set forth in the “Attachment 1” to the
declaration prepared by defense expert Jeffrey Martin. Id.
   A. Saipov has a clearly established constitutional and statutory right to
      a petit jury selected from a fair cross-section of the Southern District
      of New York.

       The Supreme Court has consistently interpreted the Sixth Amendment right
to trial by an impartial jury to require a petit jury that is indifferent and selected
from a fair cross-section of the community: “In essence, the right to jury trial
guarantees to the criminally accused a fair trial by a panel of impartial, ‘indifferent’
jurors,” Irvin v. Dowd, 366 U.S. 717, 723 (1961), and “a fair possibility for obtaining
a jury constituting a representative cross section of the community.” Taylor v.
Louisiana, 419 U.S. 522, 529 (1975). As the Court explained in Taylor, “The
unmistakable import of this Court’s opinions … is that the selection of a petit jury
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from a representative cross section of the community is an essential component of
the Sixth Amendment right to a jury trial.” 419 U.S. at 528-29.
       Federal legislation governing jury selection within the federal court system
has a similar thrust. In enacting the JSSA, Congress stated, “It is the policy of the
United States that all litigants in Federal courts entitled to trial by jury shall have
the right to grand and petit juries selected at random from a fair cross-section of the
community in the district or division wherein the court convenes.” 28 U.S.C. §
1861. In that Act, Congress also established the machinery by which the stated
policy was to be implemented (28 U.S.C. §§ 1862 through 1866) and also established
a procedure for challenging compliance with the selection rules. 28 U.S.C. § 1867.
   B. Saipov must have access to the records he seeks in order to prepare
      a motion concerning any non-compliance with his constitutional and
      statutory entitlement to a petit jury drawn from a fair cross-section
      of the community.


       With respect to criminal cases and the JSSA, before voir dire begins, a
defendant may move to dismiss the indictment or stay the proceedings against him
on the ground of substantial failure to comply with the JSSA’s provisions in
selecting the grand or petit jury. 28 U.S.C. § 1867(a). And during the preparation
of a motion challenging compliance with the fair cross-section requirement, the
parties in a criminal case “shall be allowed to inspect, reproduce, and copy” records
relevant to his claim. § 1867(f). “This provision makes clear that a litigant has
essentially an unqualified right to inspect jury lists.” Test v. United States, 420
U.S. 28, 30 (1975) (“[A]n unqualified right to inspection is required not only by the
plain text of the statute, but also by the statute’s overall purpose of insuring ‘grand
and petit juries selected at random from a fair cross section of the community.’”)
(quoting 28 U.S.C. § 1861). “Indeed, without inspection, a party almost invariably
would be unable to determine whether he has a potentially meritorious jury
challenge.” Id.
        Crucially, in order to invoke the right to inspect under 28 U.S.C. § 1867(f)
and “avail himself” of the “right of access to otherwise nonpublic jury selection
records, a litigant need only allege that he is preparing a motion challenging the
jury selection procedures.” United States v. Alden, 776 F.2d 771, 773 (8th Cir.
1985) (internal citations omitted). A defendant’s motion may not be denied because
it is unsupported by a “sworn statement of facts which, if true, would constitute a
substantial failure to comply with the provisions of the Jury Selection Act.” United
States v. Marcano-Garcia, 622 F.2d 12, 18 (1st Cir. 1980) (citations omitted). Nor
may a motion to inspect be denied because the defendant fails to allege facts which
show a “probability of merit in the proposed jury challenge.” United States v.
Beaty, 465 F.2d 1376, 1380 (9th Cir. 1972). See also United States v. Gotti, 2004


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WL 2274712 (S.D.N.Y. 2004) (granting motion for discovery even absent any
showing that the information would reveal a violation) (unreported).
       Here, like any other litigant considering a challenge under the Sixth
Amendment and JSSA to the composition of his petit jury, Saipov is entitled to
inspect the records that he and the defense’s retained statistician (Jeffrey Martin)
require to prepare a motion. Once the requested records are obtained, Mr. Martin
will analyze them expeditiously and the defense will, if appropriate, file a fair-cross
section and JSSA challenges within seven days of his findings and no later than the
date voir dire begins – October 11, 2022. See 28 U.S.C. 1867(a).
       So that the defense may expeditiously prepare any constitutional and
statutory challenges to jury selection and empanelment, we will confer with the
government regarding access to the existing jury records from other cases for use in
Mr. Saipov’s case, so that the Jury Administrator need not make unnecessary
additional productions. Further, we respectfully request that the Jury
Administrator provide any answers to Mr. Martin’s questions as soon as the
answers are known and as soon as practicable, on a rolling basis.
        Finally, should the Court endorse Mr. Saipov’s records demand, the parties
will file a proposed Protective Order to govern the jury records.


                                               Respectfully submitted,

                                               /s/ Annalisa Mirón, Esq.
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                                               Annalisa Mirón, Esq.
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